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FD-302 (Rev. 10-6-95)

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FEDERAL BUREAU OF INVESTIGATION

Date of transcription 01/09/2012

(P) (S), (P)

edhe ef birth:

social security number: cellular telephone number:
S), (P) home telephone number: (S), (P) home address:
(S), (P) was interviewed at

the Army Criminal Investigative Division office at Fort Stewart,
Georgia. After being advised of the identity of the interviewing
agents, (P) provided the following information:

2 is a sergeant in the 4th Brigade, 3rd Infantry
Division, Fort Stewart, Georgia. He was the first line supervisor
for ISAAC AGUIGUI for approximately 4-5 weeks in October-November
2011. When he first met AGUIGUI, he was a broken soldier and
needed a lot of support. § /) bgjieved him to be troubled and that
he made mistakes in the past. Wag ayhD charge of quarters and
AGUIGUI worked as a runner for him. ) encountered him crying in
a hallway and sought to get him help.

(PY set up appointments for AGUIGUI with the chaplain,
his bank, ana the department of motor vehicles. AGUIGUI had a Jeep
Cherokee that needed to be fixed, insured, and registered. He ‘knew
that AGUIGUI was living with P.

WWM indy that AGUIGUI'S wife died and that he received a
large amount Of money in insurance payments. would ask —
AGUIGUI if he could afford the repairs on his Jeep and AGUIGU
replied that he could afford ten Jeeps. AGUIGUI told ©) that he
invested the money, — oe eee

) :
gave AGUIGUI time off from work during normal duty

hours. He told AGUIGUT to. stay out of trouble and always @pswer

his telephone when called. AGUIGUI offered to give ©

money. When | ) was asked if he ever accepted money from AGUIGUI,
refused to answer and asked to speak with a lawyer.-- At this

point, questioning was stopped and the interviewing agents left the

room.

 

 

(P) . .
After advisin of his rights, the interviewin
agents re-approached to ask about unrelated matters. ( i
stated that AGUIGUI never threatened him and he was not aware of Exhibit

 

 

 

 

 

 

 

any court-martial proceedings. 1
investigation on 12/15/2011 a Hinesville, Georgia
(F) a
File a Date dictated 01 /09/2012F XHIBIT
(P) :

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